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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                             :
PHILADELPHIA PROFESSIONAL COLLECTIONS,                       :
LLC,                                                         :
                               Plaintiff,                    :    CIVIL ACTION
                                                             :    Case No. 2:21-cv-05476-GAM
                 v.                                          :
                                                             :
CRAWL SPACE DOOR SYSTEM, INC. d/b/a CRAWL                    :
SPACE DOOR SYSTEMS, INC.,                                    :
                                                             :
                                             Defendant.      :

                          JOINT REPORT OF RULE 26(f) MEETING

        In accordance with Federal Rule of Civil Procedure 26(f), counsel for the parties conferred

on March 1, 2022 and submit the following joint report of their meeting for the Court’s

consideration.

1.      Discussion of Claims, Defenses and Relevant Issues

        Philadelphia Professional Collections (“PPC”) alleges that Crawl Space Door System, Inc.

d/b/a Crawl Space Door Systems, Inc. (“Crawl Space”) failed to pay White and Williams LLP

(“W&W”) legal fees and expenses due under a Letter of Engagement. W&W represented Crawl

Space in litigation involving unfair competition, negligent misrepresentation, and federal

trademark infringement claims brought by a competitor. PPC, pursuant to an assignment from

W&W, seeks $670,077.93.

        Crawl Space denies that it has breached the Letter of Engagement and asserts that W&W

failed to perform all legal work needed and/or requested pursuant to same. Crawl Space denies

any liability to W&W or PPC.

2.      Informal Disclosures

        The parties have agreed to serve initial disclosures on or before March 15, 2022.



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3.      Formal Discovery

        The parties agree to first engage in written discovery, followed by depositions if necessary.

The parties anticipate requiring 90 days for fact discovery. The parties also anticipate entering into

a stipulated protective order.

        Electronic Discovery

        The parties anticipate that they will work together to address all electronic discovery issues

but have not yet had the opportunity to discuss these issues in depth. The parties accordingly

consent to an entry of an order containing this Court’s default standards.

4.      Expert Witness Disclosures

        Not later than 30 days after completion of fact discovery, Plaintiff shall identify any expert

it intends to call, and, if Plaintiff intends to present an expert, it shall deliver a report to Defendant

within 30 days after identification of such expert. Defendant shall have until 60 days after

completion of fact discovery to identify any expert and 30 days after that to provide a report. If

Plaintiff had not identified an expert, Plaintiff shall have 30 days from receipt of any expert report

from Defendant to submit a responsive report.

5.      Early Settlement or Resolution

        The parties are familiar with Local Rule 53.3 and have engaged in some settlement

negotiations. The parties have not engaged in any formal mediation process and have made some

progress on narrowing the issues in dispute. At the appropriate time, the parties may wish for the

Court or a magistrate judge to assist through the scheduling of a settlement conference. The parties

do not believe that it is necessary to schedule such a conference at this time.




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6.      Magistrate Jurisdiction

        The parties do not presently consent to having this matter transferred to the jurisdiction of

a U.S. Magistrate Judge pursuant to 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.

7.      Trial

        No date certain is requested for trial.

8.      Other Matters

        The parties have no other matters to address at this time.




                                                        WHITE AND WILLIAMS LLP


Dated: 3/3/22                           BY:             /s/ Farzana Islam
                                                        Farzana Islam, Esq.
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                                                        Philadelphia Professional Collections, LLC



Dated: 3/3/22                           BY:             /s/ Steven E. Angstreich
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                                                        System, Inc.




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